      Case 1:20-cv-00190-HSO-RHWR Document 19 Filed 04/25/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION

THELMA I. SEAL AND                              )
CYNTHIA TARVER CARRANZA,                        )
                                                )
       Plaintiffs,                              )
                                                )
v.                                              )
                                                )             CIVIL ACTION NO.
SOUTHERN ENERGY HOMES, INC.,                    )             1:20-cv-190-HSO-JCG
A DELAWARE CORPORATION,                         )
STEVEN W. STANFORD, D/B/A                       )
STANFORD MOBILE HOMES SALES                     )
AND CARLSBAD NATIONAL BANK,                     )
                                                )
       Defendants.                              )

     PRO TANTO JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
     AS BETWEEN PLAINTIFFS, THELMA I. SEAL AND CYNTHIA TARVER
         CARRANZA, AND DEFENDANT, CARLSBAD NATIONAL BANK

       NOW INTO COURT, through undersigned counsel, come Plaintiffs, Thelma I.

Seal and Cynthia Tarver Carranza, and Defendant, Carlsbad National Bank, who hereby

jointly stipulate, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), to the dismissal

with prejudice of all claims asserted by Plaintiffs against Defendant, Carlsbad National Bank,

with each party to bear her/its own attorneys’ fees and costs. This Pro Tanto Joint

Stipulation nor any settlement/release agreement between Plaintiffs and Defendant,

Carlsbad National Bank shall not have any effect in any way on Plaintiffs’ claims against any

other Defendant in this action and the Plaintiffs’ claims against all other Defendants in this

action shall remain fully pending.
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        Respectfully submitted this 25th day of April 2022.



 s/ Rick A. La Trace                                  s/ Nathan S. Farmer
Rick A. La Trace (LATRR5429)                         (Electronic signature used with permission)
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Attorney for Defendant, CNB Bank fka
Carlsbad National Bank                               Attorney for Plaintiffs, Thelma I. Seal
                                                     and Cynthia Tarver Carranza


                               CERTIFICATE OF SERVICE

        I hereby certify that on this the 25th day of April 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

        James L. Quinn, Esq.
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                                                  s/ Rick A. La Trace
                                                 Rick A. La Trace




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